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Table H-14A.
U.S. District Courts—Pretrial Services Release and Detention, Excluding Immigration Cases
For the 12-Month Period Ending September 30, 2018
                                               Detained and Never Released2                   Released3

  Circuit and District   Cases1                 Total                   Pct.          Total                Pct.


        TOTAL                     58,552                 35,762                61.1            22,790             38.9


1ST                                2,059                  1,363                66.2              696              33.8

      ME                             175                     85                48.6               90              51.4
      MA                             438                    237                54.1              201              45.9
      NH                             150                     86                57.3               64              42.7
      RI                             149                     78                52.3               71              47.7
      PR                           1,147                    877                76.5              270              23.5

2ND                                3,347                  1,640                49.0             1,707             51.0

      CT                             349                    161                46.1              188              53.9
      NY,N                           286                    150                52.4              136              47.6
      NY,E                           716                    331                46.2              385              53.8
      NY,S                         1,450                    734                50.6              716              49.4
      NY,W                           414                    191                46.1              223              53.9
      VT                             132                     73                55.3               59              44.7

3RD                                2,185                  1,088                49.8             1,097             50.2

      DE                             93                      64                68.8               29              31.2
      NJ                            756                     293                38.8              463              61.2
      PA,E                          512                     295                57.6              217              42.4
      PA,M                          311                     156                50.2              155              49.8
      PA,W                          450                     239                53.1              211              46.9
      VI                             63                      41                65.1               22              34.9

4TH                                4,760                  2,623                55.1             2,137             44.9

      MD                             656                    384                58.5              272              41.5
      NC,E                           772                    533                69.0              239              31.0
      NC,M                           285                    167                58.6              118              41.4
      NC,W                           522                    373                71.5              149              28.5
      SC                             749                    413                55.1              336              44.9
      VA,E                         1,068                    402                37.6              666              62.4
      VA,W                           196                     93                47.4              103              52.6
      WV,N                           270                    106                39.3              164              60.7
      WV,S                           242                    152                62.8               90              37.2




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Table H-14A. (September 30, 2018—Continued)

                                               Detained and Never Released2                   Released3

  Circuit and District   Cases1                 Total                   Pct.          Total               Pct.

5TH                               10,615                  7,356                69.3             3,259            30.7

      LA,E                           269                    147                54.6               122            45.4
      LA,M                           153                     67                43.8                86            56.2
      LA,W                           197                    109                55.3                88            44.7
      MS,N                           155                     77                49.7                78            50.3
      MS,S                           334                    242                72.5                92            27.5
      TX,N                           859                    528                61.5               331            38.5
      TX,E                           583                    409                70.2               174            29.8
      TX,S                         3,863                  2,863                74.1             1,000            25.9
      TX,W                         4,202                  2,914                69.3             1,288            30.7

6TH                                4,814                  2,722                56.5             2,092            43.5

      KY,E                          356                     229                64.3              127             35.7
      KY,W                          272                     140                51.5              132             48.5
      MI,E                          795                     354                44.5              441             55.5
      MI,W                          368                     189                51.4              179             48.6
      OH,N                          733                     433                59.1              300             40.9
      OH,S                          726                     337                46.4              389             53.6
      TN,E                          688                     559                81.3              129             18.8
      TN,M                          280                     156                55.7              124             44.3
      TN,W                          596                     325                54.5              271             45.5

7TH                                2,571                  1,469                57.1             1,102            42.9

      IL,N                          701                     343                48.9              358             51.1
      IL,C                          280                     197                70.4               83             29.6
      IL,S                          250                     140                56.0              110             44.0
      IN,N                          432                     271                62.7              161             37.3
      IN,S                          549                     380                69.2              169             30.8
      WI,E                          278                      99                35.6              179             64.4
      WI,W                           81                      39                48.1               42             51.9

8TH                                4,979                  3,153                63.3             1,826            36.7

      AR,E                           448                    170                37.9              278             62.1
      AR,W                           179                    148                82.7               31             17.3
      IA,N                           319                    221                69.3               98             30.7
      IA,S                           418                    264                63.2              154             36.8
      MN                             287                    157                54.7              130             45.3
      MO,E                         1,466                  1,062                72.4              404             27.6
      MO,W                           701                    475                67.8              226             32.2
      NE                             418                    242                57.9              176             42.1
      ND                             266                    135                50.8              131             49.2
      SD                             477                    279                58.5              198             41.5




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Table H-14A. (September 30, 2018—Continued)

                                                                     Detained and Never Released2                                   Released3

    Circuit and District               Cases1                         Total                      Pct.                      Total                      Pct.

9TH                                               14,473                          9,569                  66.1                         4,904                       33.9

        AK                                            219                           147                  67.1                            72                       32.9
        AZ                                          3,105                         1,996                  64.3                         1,109                       35.7
        CA,N                                          572                           254                  44.4                           318                       55.6
        CA,E                                          520                           319                  61.3                           201                       38.7
        CA,C                                        1,257                           594                  47.3                           663                       52.7
        CA,S                                        6,026                         5,002                  83.0                         1,024                       17.0
        HI                                            210                            78                  37.1                           132                       62.9
        ID                                            286                           163                  57.0                           123                       43.0
        MT                                            332                           173                  52.1                           159                       47.9
        NV                                            415                           243                  58.6                           172                       41.4
        OR                                            438                           198                  45.2                           240                       54.8
        WA,E                                          322                           184                  57.1                           138                       42.9
        WA,W                                          719                           208                  28.9                           511                       71.1
        GUAM                                           42                             6                  14.3                            36                       85.7
        NM,I                                           10                             4                  40.0                             6                       60.0

10TH                                                3,505                         1,976                  56.4                         1,529                       43.6

        CO                                            414                           250                  60.4                           164                       39.6
        KS                                            437                           234                  53.5                           203                       46.5
        NM                                          1,074                           621                  57.8                           453                       42.2
        OK,N                                          176                            73                  41.5                           103                       58.5
        OK,E                                          134                            98                  73.1                            36                       26.9
        OK,W                                          502                           196                  39.0                           306                       61.0
        UT                                            594                           398                  67.0                           196                       33.0
        WY                                            174                           106                  60.9                            68                       39.1

11TH                                                5,244                         2,803                  53.5                         2,441                       46.5

        AL,N                                          287                           118                  41.1                           169                       58.9
        AL,M                                          206                            71                  34.5                           135                       65.5
        AL,S                                          189                            75                  39.7                           114                       60.3
        FL,N                                          268                           111                  41.4                           157                       58.6
        FL,M                                        1,260                           786                  62.4                           474                       37.6
        FL,S                                        1,952                         1,080                  55.3                           872                       44.7
        GA,N                                          479                           212                  44.3                           267                       55.7
        GA,M                                          332                           155                  46.7                           177                       53.3
        GA,S                                          271                           195                  72.0                            76                       28.0

NOTE: This table excludes data for the District of Columbia and includes transfers received.
NOTE: Includes data reported for previous periods on Table H-9.
1
  Data represents defendants whose cases were activated during the 12-month period. Excludes dismissals, cases in which release is not possible within 90 days,
transfers out, and cases that were later converted to diversion cases during the period.
2
  Includes data reported for previous periods as "never released."
3
  Includes data reported for previous periods as "later released," "released and later detained," and "never detained."




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